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               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                       STATESBORO DIVISION
GARY LENION MCDONALD,

     Movant,

v.                                            Case No. CV616-099
                                                       CR612-005
UNITED STATES OF AMERICA,

     Respondent.

                   REPORT AND RECOMMENDATION

     Convicted via guilty plea of conspiracy to kidnap and sentenced to

240 months, CR612-005, docs. 167 & 164, Gary Lenion McDonald moves

for 28 U.S.C. § 2255 relief. Doc. 248. Preliminary review under Rule 4 of

the Rules Governing Section 2255 Proceedings shows that his motion

must be denied. Defendant cites United States v. Quintero-Leyva , 823

F.3d 519 (9th Cir. 2016), where the Ninth Circuit held that the amended

commentary to USSG § 3B1.2 -- which provides for a reduced offense

level for defendants who were minimal or minor participants in the

criminal activity at issue -- applies retroactively on direct appeals. That

court remanded the case before it because it “c[ould] not determine from
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the record whether or not the [district] court considered all the factors

now listed in § 3B1.2.” 823 F.3d at 523.

      Insisting that he played only a minor role in the kidnappings, 1

McDonald wants this Court to apply § 3B1.2 to reduce his sentence for,

inter alia, conspiring “to seize, confine, kidnap, abduct, and carry away

T.M., and W.D., and hold them for ransom, and used a means, facility,

and instrumentality of interstate commerce, to wit, cellular telephones,

in furtherance of the objects of the conspiracy, in violation of Title 18,

United States Code, Section 120 1(a)(1).” Doc. 167 at 10-11 (facts to

which he stipulated in his plea agreement); doc. 164 (240-month




1
 The Presentence Investigation Report (PSR) reveals two kidnappings that involved
a home invasion, an armed confrontation, violence, ransom, and the repeated use of
McDonald’s “dilapidated trailer” residence to temporarily confine the victims.
McDonald admitted his involvement in both kidnappings. PSR at 9 ¶¶ 33-36.
Specifically, he allowed “his residence to be used to facilitate both kidnappings. He
also guarded one of the victims, while ransom money was collected, and assisted in
the delivery of that victim, after the ransom was paid.” Sentencing Recommendation
at 1.

   The Probation Officer nevertheless advised that “[t]he defendant was a minor
participant in the instant offence.” PSR at 13 ¶ 59. After elaborating on that, the
Officer concluded: “As the defendant was minor participant in the criminal activity, a
two-level [Sentencing Guideline calculation] decrease is appropriate. USSG §
3B1.2(b).” Id. “It is noted that absent a role reduction, [McDonald’s U.S.
Sentencing] guideline range would have been 360 months to live imprisonment.”
Sentencing Recommendation at 2.
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judgment of conviction entered on that count). 2 But as pointed out in

Young v. United States , 2016 WL 4472937 (C.D. Ill. Aug. 24, 2016),

Quintero -Leyva ’s reasoning does not apply to collateral attacks. Id. at *

2.

      Indeed, the proper avenue for a defendant seeking a sentence
      reduction based on an amendment to the Sentencing Guidelines is
      to file a motion under 18 U.S.C. § 3582(c)(2) (allowing modification
      to term of imprisonment if defendant was sentenced “based on a
      sentencing range that has subsequently been lowered by the
      Sentencing Commission”).

Id.     McDonald’s § 2255 motion therefore must be denied on those

grounds.

        Additional grounds support denial. In Jacobs v. United States ,

2016 WL 4183312 (S.D. Ga. Aug. 5, 2016), this Court addressed a similar

§ 2255 motion. Like McDonald, the movant there had an opportunity to

challenge her “minor role” in a direct appeal of her sentence. Id. at * 1.

Like McDonald did here, she failed to do so. Denying relief, this Court

applied Burke v. United States , 152 F.3d 1329, 1331 (11th Cir. 1998) to

rule that “§ 2255 is not a substitute for direct appeal,” so

“nonconstitutional claims” like that “can be raised on collateral review

2
 McDonald unsurprisingly took no appeal from that 2013 judgment -- his plea
agreement waived his direct and collateral appeal rights except on grounds here not
relevant. Doc. 167 at 6.
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only when the alleged error constitutes a “fundamental defect which

inherently results in a complete miscarriage of justice [or] an omission

inconsistent with the rudimentary demands of fair procedure.”            Id.

(quoting Burke , 152 F.3d at 1330-31); see also Sandidge v. United States ,

2016 WL 4154929 at * 2 (S.D. Ill. Aug. 5, 2016) (“As long as a defendant's

sentence is within the sentencing range provided by the statute of the

offense, sentencing guideline calculation errors are nonconstitutional

and are not reviewable in § 2255 proceedings.”).

     On those additional grounds, then, McDonald’s § 2255 motion

should be DENIED . Applying the Certificate of Appealability (COA)

standards set forth in Brown v. United States , 2009 WL 307872 at * 1-2

(S.D. Ga. Feb. 9, 2009), the Court discerns no COA-worthy issues at this

stage of the litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1);

Rule 11(a) of the Rules Governing Habeas Corpus Cases Under 28 U.S.C.

§ 2255 (“The district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.”)

(emphasis added). The Court DIRECTS the Probation Office to file the

PSR and Sentencing Memorandum in the record.
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     SO REPORTED AND RECOMMENDED this 30th day of

August, 2016.




                                    L'MIEJJ STATES MAGISTRATE ThJDGE
                                    SOUTHERN DISTRICT OF GEORGLL
